     Case: 1:14-cv-09412 Document #: 491 Filed: 08/23/22 Page 1 of 4 PageID #:28493



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
    UNITED STATES OF AMERICA et al. ex rel.
    RONALD J. STRECK,
                         Plaintiffs-Relator,
                                                     Case No.: 1:14−cv−09412
                 v.
    TAKEDA PHARMACEUTICALS
                                                     Judge Harry D. Leinenweber
    AMERICA, INC., et al.,


                         Defendants.

         PARTIES’ STIPULATION AND ORDER RE DEADLINES UNDER LOCAL
               RULE 54.3 FOR FEES AND NON-TAXABLE EXPENSES

         Relator Ronald J. Streck and Defendant Eli Lilly and Company (collectively, the “Parties”)

hereby stipulate, and respectfully request that the Court approve, 30-day extensions to the

deadlines under Local Rule 54.3 concerning requests for fees and non-taxable expenses.1

         1.     Local Rule 54.3(d) provides that the parties “shall confer and attempt in good faith

to agree on the amount of fees or related nontaxable expenses that should be awarded prior to filing

a fee motion.” More specifically, Local Rule 54.3(d) requires that upon request, the movant

provide certain information to the respondent within 21 days of the judgment, the respondent,

under certain circumstances, produce certain information 21 days thereafter, and the parties

identify areas of agreement and disagreement within 14 days thereafter. Local Rule 54.3(b)

provides a fee motion must be filed within 91 days of the underlying judgment.

         2.     Local Rule 54.3(g) provides that upon motion, the Court may alter the above-

described deadlines. Given that the Parties will be engaged in briefing motions under Federal Rule



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 Local Rule 54.1 establishes a separate procedure for taxable costs. The parties are not requesting
any extension to this procedure.


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      Case: 1:14-cv-09412 Document #: 491 Filed: 08/23/22 Page 2 of 4 PageID #:28494



of Civil Procedure 50 and 59 during the same time period, the Parties stipulate to and respectfully

request 30-day extensions to the default deadlines under Local Rule 54.3 with respect to Relator’s

request for attorneys’ fees and non-taxable costs. The Parties respectfully suggest that the proposed

extensions will enable a more robust meet and confer process that will likely reduce the areas of

disagreement. In addition, the Parties do not anticipate that the requested extensions will delay

these proceedings. Lilly joins this request while explicitly preserving its right to request future

extensions of the relevant deadlines or to request a stay of adjudication or a stay of execution of

any potential fee order. Relator reserves the right to request future extensions of the relevant

deadlines and the right to oppose any request by Lilly for a stay of adjudication or a stay of

execution of any potential fee order.

          For these reasons, the Parties enter, and respectfully request that the Court approve, of the

following 30-day extensions:


                     Event                          Current Deadline         Requested Deadline
                                                                            with 30-Day Extension
 Relator’s deadline under Local Rule                    8/24/2022                 9/23/2022
 54.3(d)(4)
 Lilly’s deadline under Local Rule                      9/14/2022                  10/14/2022
 54.3(d)(5)
 The parties’ joint deadline under Local                9/28/2022                  10/28/2022
 Rule 54.3(d)
 Deadline to File Fee Motion                            11/1/2022                  12/1/2022

  Date: August 17, 2022                             Respectfully submitted,

  By:
  .
            /s/ Jonathan Z. DeSantis            .

                                                    By:     /s/ James R.P. Hileman                .




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                                                    2
  Case: 1:14-cv-09412 Document #: 491 Filed: 08/23/22 Page 3 of 4 PageID #:28495



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SO ORDERED this 23rd day of August 2022.




                                               The Honorable Harry D. Leinenweber
                                               United States District Judge




                                           3
  Case: 1:14-cv-09412 Document #: 491 Filed: 08/23/22 Page 4 of 4 PageID #:28496



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2022, I caused a copy of the foregoing to be served via

this Court’s ECF filing system, which will provide a copy to all counsel of record.

                                              By: /s/ Daniel R. Miller                .




                                             Attorney for Relator




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